    Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 1 of 52 PageID #:10733




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION



                                                             Civil Action File No.: 1:21-cv-00135
    In re: Clearview AI, Inc., Consumer
    Privacy Litigation                                       Judge Sharon Johnson Coleman

    This document relates to:                                Magistrate Judge Maria Valdez

    1:20-cv-512                                              JURY TRIAL DEMANDED



    MACY’S DEFENDANTS’ ANSWER AND AMENDED AFFIRMATIVE DEFENSES TO
    PLAINTIFFS’ FIRST AMENDED CONSOLIDATED CLASS ACTION COMPLAINT

          Macy’s, Inc., Macy’s Retail Holdings, Inc., now known as Macy’s Retail Holdings, LLC,

and Macy’s Corporate Services, Inc., now known as Macy’s Corporate Services, LLC (collectively

referred to as the “Macy’s Entities”), through their counsel, respectfully answers David Mutnick,

Steven Vance, Anthony Hall, Isela Carmean, Chris Marron and Maryann Baker’s (collectively,

“Plaintiffs”) First Amended Consolidated Class Action Complaint, and state the following:

                                         NATURE OF THE ACTION

        1.      Without providing any notice and without obtaining any consent, Defendants
Clearview, Ton-That and Schwartz (collectively, the “Clearview Defendants”) covertly scraped
three billion photographs of facial images from the internet – including facial images of millions
of American residents and then used artificial intelligence algorithms to scan the face geometry of
each individual depicted in the photographs in order to harvest the individuals’ unique biometric
identifiers1 and corresponding biometric information2 (collectively, “Biometrics”). Further, the
Clearview Defendants created a searchable biometric database (the “Biometric Database”) that
contained the above-described Biometrics and allowed users of the Biometric Database to identify
unknown individuals merely by uploading a photograph to the database.




1
  As used herein, “biometric identifier” is any personal feature that is unique to an individual, including fingerprints,
iris scans, DNA and “face geometry,” among others.
2
  As used herein, “biometric information” is any information captured, converted, stored, or shared based on a person’s
biometric identifier used to identify an individual.




74983756v2
  Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 2 of 52 PageID #:10734




ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

        2.      The Clearview Defendants did not develop their technology out of a desire for a
safer society. Rather, they developed their technology to invade the privacy of the American public
for their own profit.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

        3.       While the Clearview Defendants have touted their actions and the Biometric
Database as being helpful to law enforcement and other government agencies, the Clearview
Defendants have made their Biometric Database available to public and private entities and
persons, alike. What the Clearview Defendants’ technology really offers is a massive surveillance
state. Anyone utilizing the technology could determine the identities of people as they walk down
the street, attend a political rally or enjoy time in public with their families. One of Clearview’s
financial backers has conceded that Clearview may be laying the groundwork for a “dystopian
future.”

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

        4.       Accordingly, Plaintiffs, on behalf of themselves and similarly situated individuals,
bring this action for damages and other legal and equitable remedies resulting from the actions of
the Clearview Defendants, the Macy’s Entities (the Clearview Defendants and Macy’s Entities,
collectively, “Defendants”) and Defendant Class Members for their unlawful creation and/or use
of the Biometric Database consisting of the Biometrics of millions of American residents,
including residents of Illinois. As alleged below, Defendants’ conduct violated, and continues to
violate, Illinois’ Biometric Information Privacy Act (“BIPA”), 740 ILCS 14/1, et seq., as well as
other statutory and common law rights, causing injury to Plaintiffs and Plaintiff Class Members



                                                 2
74983756v2
  Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 3 of 52 PageID #:10735




ANSWER:        The Macy’s Entities admit that Plaintiffs purport to bring this action on behalf of

themselves and similarly situated individuals for damages and other legal and equitable remedies

against the Clearview Defendants, the Macy’s Entities and other Defendants. The Macy’s Entities

deny that it is similarly situated to other private entities with respect to the allegations in this

paragraph and deny the remaining allegations asserted against them in this paragraph. The Macy’s

Entities lack knowledge or information sufficient to form a belief as to the truth of the allegations

asserted in this paragraph against any Defendant other than the Macy’s Entities and therefore deny

them.

                                            PARTIES

        5.      Plaintiff David Mutnick is, and at relevant times has been, a resident of Illinois,
residing in the Northern District of Illinois.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

        6.      Plaintiff Steven Vance is, and at relevant times has been, a resident of Illinois,
residing in the Northern District of Illinois.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

        7.      Plaintiff Anthony Hall is, and at relevant times has been, a resident of Illinois,
residing in the Northern District of Illinois.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

        8.      Plaintiff Isela Carmean is, and at relevant times has been, a resident of Illinois,
residing in the Northern District of Illinois.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.



                                                 3
74983756v2
  Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 4 of 52 PageID #:10736




        9.      Plaintiff Chris Marron is, and at relevant times has been, a resident of Illinois,
residing in the Northern District of Illinois.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

        10.     Plaintiff Maryann Daker is, and at relevant times has been, a resident of Illinois,
residing in the Northern District of Illinois.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

         11.    Defendant Clearview AI, Inc., formerly known as Smartcheckr Corp., Inc., is a
private, for-profit Delaware corporation, headquartered in New York, New York. Clearview
markets its technology throughout the United States, including in Illinois. Moreover, Clearview
obtains the images that underlie its technology from millions of internet-based platforms and
websites, including, on information and belief, based on the magnitude of platforms and websites
involved, platforms and websites of Illinois companies or companies who operate servers in
Illinois. Clearview’s business and unlawful practices extend nationwide, and it has disclosed the
Biometrics of unsuspecting individuals to its clients around the country. Clearview continues to
engage in this conduct to this day.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

        12.     Defendant Hoan Ton-That is a founder and the Chief Executive Officer of
Clearview and an architect of its illegal scheme, as alleged herein. Ton-That’s responsibilities at
Clearview included, and continue to include, managing technology matters. At relevant times,
Ton-That knew of, participated in, consented to, approved, authorized and directed the wrongful
acts alleged in this First Amended Consolidated Class Action Complaint.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.



                                                 4
74983756v2
  Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 5 of 52 PageID #:10737




        13.      Defendant Richard Schwartz is a founder and the President of Clearview and an
architect of its illegal scheme. Schwartz’s responsibilities at Clearview included, and continue to
include, managing sales. Schwartz knew of, participated in, consented to, approved, authorized,
and directed the wrongful acts alleged in this First Amended Consolidated Class Action
Complaint.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

         14.    At relevant times, Defendant Thomas Mulcaire was an attorney, Clearview’s
General Counsel and the Vice President of Defendant Rocky Mountain. Mulcaire provided the
Illinois Secretary of State, a Rocky Mountain customer, with his personal information in order to
be paid directly for work performed by Rocky Mountain.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

        15.     Defendant Rocky Mountain Data Analytics LLC is a private, for-profit New
Mexico limited liability company with its principal place of business in New Mexico. As alleged
in more detail below, a unity of interest existed between Rocky Mountain, on the one hand, and
Ton-That, Schwartz and Mulcaire on the other that caused the separate personalities of Rocky
Mountain and Ton-That, Schwartz and Mulcaire to no longer exist. Further, as alleged in more
detail below, Clearview is legally responsible for the actions and conduct of Rocky Mountain. At
relevant times, Rocky Mountain solicited business from potential Illinois customers and contracted
with the Illinois Secretary of State. Rocky Mountain provided the Illinois Secretary of State with
access to the Biometric Database and the Biometrics contained therein.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.




                                                 5
74983756v2
  Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 6 of 52 PageID #:10738




        16.      At relevant times, Defendant Macy’s, Inc. was a Delaware corporation, that held
itself out to as “one of the nation’s premier retailers” with approximately 680 department stores
and over 100,00 employees. Among the department stores, were stores located in Illinois.

ANSWER:        The Macy’s Entities admit that Macy’s Inc. is a Delaware Corporation. The Macy’s

Entities deny the remaining allegations of this paragraph.

        17.   At relevant times, Defendant Macy’s Retail Holdings, Inc., now known as Macy’s
Retail Holdings, LLC, was a New York corporation and wholly-owned subsidiary of Macy’s, Inc.
doing business in Illinois.

ANSWER:        The Macy’s Entities admit the allegations contained within this paragraph.

      18.     At relevant times, Defendant Macy’s Corporate Services, Inc., now known as
Macy’s Corporate Services, LLC, was a New York Corporation and wholly-owned subsidiary of
Macy’s Retail Holdings, Inc. doing business in Illinois.

ANSWER:        The Macy’s Entities admit the allegations contained within this paragraph.

                                 JURISDICTION AND VENUE

        19.    This Court has original jurisdiction over this controversy pursuant to 28 U.S.C. §
1332(d) because there are more than 100 Plaintiff Class Members and the aggregate amount in
controversy exceeds $5,000,000.00, exclusive of interest, fees, and costs, and at least one class
member is a citizen of a state different from one of the Defendants. The Court has supplemental
jurisdiction over all of the state common law claims pursuant to 28 U.S.C. § 1367.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations contained

in this paragraph.

       20.     This Court has personal jurisdiction over the Clearview Defendants because their
contacts with Illinois are directly related to the conduct alleged herein. As set forth in the Court’s
previous order (Dkt. 86):

        Ton-That and Schwartz founded Clearview in 2017. Ton-That and Schwartz have
        high-ranking positions in management and operations at Clearview. More
        specifically, Ton-That is Clearview’s CEO and is responsible for managing
        Clearview’s technological matters. Schwartz is Clearview’s president managing
        Clearview’s sales. Schwartz and Ton-That have contributed significant resources
        to Clearview’s operations. Schwartz, for example, has paid for the servers and other
        costs necessary to carry out Clearview’s scraping and scanning operations.



                                                  6
74983756v2
  Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 7 of 52 PageID #:10739




        As Clearview’s principals, Schwartz and Ton-That have executed hundreds of
        agreements on behalf of Clearview with numerous Illinois law enforcement and
        other government agencies, as well as private entities in Illinois, to provide access
        to its facial recognition database. Through these agreements, defendants have sold,
        disclosed, obtained, and profited from the biometric identifiers of Illinois citizens.
        Some the entities to whom Clearview sold biometric information include the
        Chicago, Rockford, and Naperville police departments. Also, Clearview marketed
        its licenses (user accounts) for its facial recognition database to the Illinois
        Secretary of State and negotiated a contract with the Secretary of State via a series
        of emails, mail, and phone calls. As to Clearview’s price quote to the Secretary of
        State, set forth in a letter dated October 1, 2019, Clearview directed payments to be
        sent to Clearview AI/Attn: Richard Schwartz at Schwartz’s residence in New York
        City.

        Plaintiffs further maintain that defendants purposely directed their “illegal
        harvesting” at the State of Illinois. To clarify, the images contained in the facial
        recognition databases sold to Illinois entities were uploaded and created using
        internet-based platforms and websites from companies in Illinois or companies who
        operate servers in Illinois. Simply put, defendants took biometric information from
        Illinois residents, created a surveillance database, and then marketed and sold
        licenses to use this database to entities in Illinois. As a result, plaintiffs’ privacy
        rights were violated.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

         21.    This Court has personal jurisdiction over Rocky Mountain and Mulcaire because
their contacts with Illinois are directly related to the conduct alleged herein. According to
Mulcaire’s May 23, 2020 sworn declaration: (a) Rocky Mountain “is a special purpose entity that
was used for the purpose of contracting with the Illinois Secretary of State”; (b) “[a]lthough [Rocky
Mountain] did submit a quote to the Chicago Police Department, other than the transaction with
the Illinois Secretary of State, [Rocky Mountain] has not engaged in any other transactions related
to Clearview’s [biometric] database since its formation, and is not currently engaged in efforts to
market or contract with parties for access to Clearview’s database”; and (c) Rocky Mountain “has
no employees, assets or products separate from those of Clearview . . . .” The Biometric Database
that Rocky Mountain offered and provided to the Illinois Secretary of State was the same Biometric
Database created by Clearview, with the same connection to Illinois as alleged in the preceding
paragraph. At relevant times, Mulcaire was Rocky Mountain’s Vice President and directly
corresponded with the Illinois Secretary of State in connection with Rocky Mountain’s efforts to
obtain the Illinois Secretary of State’s business. According to the Illinois Secretary of State’s
records, the “Vendor/Payee Name” for the entity providing the Biometric Database was “Thomas
Mulcaire” and the “Vendor Name2/DBA” was “Rocky Mtn Data Analytics LLC.” Further,
                                                  7
74983756v2
  Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 8 of 52 PageID #:10740




according to publicly-available information from the Illinois Comptroller’s Office, Thomas
Mulcaire was paid $5,000 in 2020, the amount invoiced by Rocky Mountain.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

        22.      The Court has personal jurisdiction over the Macy’s Entities because their contacts
with Illinois are directly related to the conduct alleged herein. On or about October 13, 2019,
Macy’s Corporate Services, Inc., on behalf of itself, Macy’s, Inc. and Macy’s Retail Holdings,
Inc., entered into a contract with Clearview that, among other things, provided Clearview’s
“technology, database and investigative tools to Macy’s, Inc.” On information and belief, Macy’s
obtained access to the Biometric Database and the Biometrics contained therein in order to identify
people whose images appeared in surveillance camera footage from Macy’s retail stores, including
their retail stores in Illinois. Macy’s utilized the Biometric Database over 6,000 times, each time
uploading a probe image to the database to have the database search the Biometrics contained
therein, including the Biometrics of millions of Illinois residents, for a biometric match. On
information and belief, based on the magnitude of the number of searches, Macy’s uploaded one
or more probe images from surveillance cameras located in Illinois.

ANSWER:        Macy’s Retail Holding, LLC and Macy’s Corporate Services, Inc. admit that on or

about October 13, 2019, Macy’s Corporate Services, Inc. entered into a contract with Clearview.

They deny all remaining allegations contained within this paragraph.              Macy’s, Inc. lacks

knowledge of the allegations contained within this paragraph and therefore denies them.

         23.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because, as
alleged above, a substantial part of the acts or omissions giving rise to Plaintiffs’ claims occurred
in Illinois. Alternatively, venue is proper pursuant to 28 U.S.C. § 1391(b)(3) because the Court has
personal jurisdiction over Defendants. Additionally, venue is proper pursuant to 28 U.S.C. §
1407(a) and the Order of the United States Judicial Panel on Multidistrict Litigation transferring
this multidistrict litigation to this Court.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, Macy’s Retail Holdings, LLC and Macy’s Corporate

Services, Inc. deny that all or part of the acts or omissions giving rise to Plaintiffs’ claims against

Macy’s occurred in Illinois. Macy’s, Inc. lacks knowledge of this allegation and therefore denies


                                                  8
74983756v2
  Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 9 of 52 PageID #:10741




it.   The Macy’s Entities admit the United States Judicial Panel on Multidistrict Litigation

transferred this multidistrict litigation to this Court, but deny that either the transfer order or 28

U.S.C. § 1407(a) suffices to establish proper venue. The Macy’s Entities deny the remaining

allegations of this paragraph because Illinois does not have general jurisdiction over the Macy’s

Entities, and Plaintiffs’ claims do not arise out of or relate to the Macy’s Entities’ contacts with

Illinois.

                                   FACTUAL ALLEGATIONS

Biometric Identifiers

         24.    Every individual has unique features by which he or she can be identified using a
set of standard quantitative measurements, commonly referred to as “biometric identifiers.”

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

        25.    For example, the shape of and distance between tiny ridges on each person’s finger
are unique, so measures of those features can be used to identify a specific individual as the person
who made a fingerprint.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

      26.    Each person also has a unique facial geometry composed of, among other
measurements, distances between key facial landmarks and ratios between those distances.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

        27.     Once a picture of a person’s face is scanned and its biometric measurements are
captured, computers can store that information and use it to identify that individual any other time
that person’s face appears on the internet, in a scanned picture or in footage from any of the billions
of cameras that are constantly monitoring the public’s daily lives.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.


                                                  9
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 10 of 52 PageID #:10742




       28.   Unlike fingerprints, facial biometrics are readily observable and, thus, present a
grave and immediate danger to privacy, individual autonomy, and liberty.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

The Clearview Defendants’ Unlawful Biometric Database

        29.     The Clearview Defendants have collected, captured and obtained Biometrics from
more than three billion images they covertly scraped from the internet – including, on information
and belief, the Biometrics of Plaintiffs and Plaintiff Class Members – which they have amassed
into the searchable Biometric Database.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

        30.     Additionally, the Clearview Defendants have distributed, disseminated, sold,
traded, leased and otherwise profited from the Biometrics they unlawfully collected, captured and
obtained.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

       31.    To date, the Clearview Defendants have sold unfettered access to their vast
Biometric Database to more than 7,000 individuals from approximately 2,000 law enforcement
and government agencies, including the Chicago Police Department and the Illinois Secretary of
State.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.


                                                10
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 11 of 52 PageID #:10743




        32.     Moreover, the Clearview Defendants have sold unfettered access to the Biometric
Database to more than 200 private companies, including the Macy’s Entities and Defendant Class
Members. Those private entities in turn frequently queried the Biometric Database for their own
business purposes, including to identify particular individuals appearing in photographs or videos
in their possession. Each time one of Clearview’s private clients queried the Biometric Database,
the Clearview Defendants’ algorithms compared the facial geometry of the subject appearing in a
chosen photograph or video against the facial geometry of each of the hundreds of millions of
subjects appearing in the database, including the facial geometry of Plaintiffs and Plaintiff Class
Members. Thus, by obtaining access to and querying the Biometric Database, the Macy’s Entities
and Defendant Class Members necessarily obtained, accessed and used all of the Biometrics in
that database, including the Biometrics of Plaintiffs and Plaintiff Class Members.

ANSWER:        The Macy’s Entities deny the allegations asserted against them in this paragraph.

The Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations asserted in this paragraph against any Defendant other than the Macy’s Entities and

therefore deny them.

        33.    At relevant times, the Clearview Defendants failed to store and protect from
disclosure the highly sensitive Biometrics in the Biometric Database: (a) using the reasonable
standard of care within Clearview’s industry; and (b) in a manner that was the same or more
protective than the manner in which the Clearview Defendants stored and protected other
confidential and sensitive information. Evidence of the Clearview Defendants’ lax security
practices includes the fact that Clearview’s electronic systems were hacked on at least two
occasions in 2020.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

       34.     According to public reports, in one instance, the hackers obtained Clearview’s
customer list. In the other instance, hackers obtained access to a “misconfigured server” that
exposed Clearview’s internal files, apps and source code to anyone on the internet. The
misconfigured server allowed anyone to run Clearview’s software application and access the
Biometric Database that contained the sensitive Biometrics of millions of United States residents,
including Plaintiffs and Plaintiff Class Members.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,


                                                11
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 12 of 52 PageID #:10744




the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

The Corporate Fictions

       35.     At relevant times, a unity of interest existed between Clearview and its principals,
Ton-That and Schwartz, that caused the separate personalities of Clearview and those principals
to no longer exist. Moreover, adherence to the fiction of a separate corporate existence would
promote injustice and inequitable consequences.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

        36.      From Clearview’s inception, Ton-That and Schwartz undercapitalized Clearview
so that Clearview could not fulfill its obligations – namely, its legal obligations. Ton-That’s and
Schwartz’s undercapitalization was especially egregious given that, as alleged herein, they built
Clearview around an inherently unlawful business model that exposed Clearview to substantial
legal liability at all times. Ton-That’s and Schwartz’s failure to adequately capitalize Clearview
rendered, and continues to render, Clearview a mere liability shield.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

        37.    Further, at relevant times, Clearview directed its customers to send payments to
Schwartz’s personal residence. Moreover, Schwartz paid for the servers and other costs necessary
to carry out Clearview’s unlawful scraping and biometric scanning operations.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.



                                                12
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 13 of 52 PageID #:10745




        38.     Additionally, Ton-That and Schwartz treated Clearview’s Biometric Database as
their own and transferred “ownership” of it as they saw fit. In or about September 2019, Rocky
Mountain was organized and, shortly thereafter, contracted with the Illinois Secretary of State to
provide the Secretary of State with access to the Biometric Database. Rocky Mountain represented
that the Biometric Database was “its proprietary technology” and that Rocky Mountain was the
“sole manufacturer and provider” of the Biometric Database. According to Rocky Mountain,
“there is no other company that offers this product [the Biometric Database] and set of
capabilities.” On information and belief, based on Ton-That’s and Schwartz’s leadership positions
within Clearview and the fact that they were responsible for the creation of the Biometric Database,
Ton-That and Schwartz authorized and were directly involved in the creation of Rocky Mountain
and responsible for allowing Rocky Mountain to sell access to the Biometric Database.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

        39.    Notably, at relevant times, a unity of interest existed between Rocky Mountain, on
the one hand, and Ton-That, Schwartz and Mulcaire on the other that caused the separate
personalities of Rocky Mountain and Ton-That, Schwartz and Mulcaire to no longer exist.
Moreover, adherence to the fiction of a separate corporate existence would promote injustice and
inequitable consequences.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

       40.      Rocky Mountain was, in essence, a corporate shell that Ton-That and Schwartz did
not capitalize at all.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.




                                                13
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 14 of 52 PageID #:10746




        41.    Further, Ton-That, Schwartz and Mulcaire did not follow corporate formalities with
respect to Rocky Mountain. For instance, Rocky Mountain’s salesperson, in actuality, was a
Clearview employee. On information and belief, Ton-That, Schwartz and Mulcaire authorized and
directed that Clearview salesperson to double as a Rocky Mountain salesperson, all the while
knowing that the salesperson would be paid for all of his work by Clearview. Further, on
information and belief, Ton-That and Schwartz authorized Mulcaire to provide his personal
information to the Illinois Secretary of State, knowing that by doing so the Illinois Secretary of
State would make direct payment to him, not Rocky Mountain. Mulcaire, an attorney, ultimately
provided his personal information to the Illinois Secretary of State, resulting in the Illinois
Secretary of State submitting a voucher to the Illinois Comptroller authorizing payment to
Mulcaire. The Illinois Comptroller ultimately issued a $5,000 payment to Mulcaire.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

         42.     Based on the same facts alleged in the preceding paragraphs, Clearview, itself, is
also liable for the acts of Rocky Mountain because: (a) it was Rocky Mountain’s parent; and (b)
had control over and was involved in Rocky Mountain’s misconduct. As alleged, Rocky
Mountain’s misconduct can be traced to Clearview, its parent, through the conduct of Ton-That,
Schwartz and Mulcaire who were directly responsible for Rocky Mountain’s activities. Rocky
Mountain’s activities – which including collecting, obtaining, distributing, disseminating, selling,
leasing and profiting from the Biometrics of Plaintiffs and Plaintiff Class Members – resulted in
Rocky Mountain violating the privacy rights of millions of American residents, including residents
of Illinois. At all times, the injuries caused by Rocky Mountain’s conduct were foreseeable.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

Allegations Related to Plaintiffs and Plaintiff Class Members

        43.    At relevant times, Plaintiff Mutnick uploaded from Illinois to various websites on
the internet photographs taken in Illinois and containing images of his face. Further, at relevant
times, photographs taken in Illinois and containing images of Plaintiff’s face were uploaded by
others to various websites on the internet. In creating the Biometric Database, Clearview searched
millions of websites on the internet for image files. Plaintiff Mutnick’s Biometrics are contained
in the Biometric Database.


                                                14
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 15 of 52 PageID #:10747




ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

         44.     At relevant times, Plaintiff Vance uploaded from Illinois to various websites on the
internet photographs taken in Illinois and containing images of his face. Plaintiff Vance has
uploaded over 18,000 photographs to the internet, many of which contain images of his face. In
creating the Biometric Database, Clearview searched millions of websites on the internet for image
files. Plaintiff Vance’s Biometrics are contained in the Biometric Database.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

        45.    At relevant times, Plaintiff Hall uploaded from Illinois to various websites on the
internet photographs taken in Illinois and containing images of his face. In creating the Biometric
Database, Clearview searched millions of websites on the internet for image files. Plaintiff Hall’s
Biometrics are contained in the Biometric Database.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

        46.    At relevant times, Plaintiff Carmean uploaded from Illinois to various websites on
the internet photographs taken in Illinois and containing images of her face. In creating the
Biometric Database, Clearview searched millions of websites on the internet for image files.
Plaintiff Carmean’s Biometrics are contained in the Biometric Database.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

        47.    At relevant times, Plaintiff Marron uploaded from Illinois to various websites on
the internet photographs taken in Illinois and containing images of his face. In creating the
Biometric Database, Clearview searched millions of websites on the internet for image files. On
information and belief, Plaintiff Marron’s Biometrics are contained in the Biometric Database.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

        48.     At relevant times, Plaintiff Daker uploaded from Illinois to various websites on the
internet photographs taken in Illinois and containing images of her face. In creating the Biometric
Database, Clearview searched millions of websites on the internet for image files. On information
and belief, Plaintiff Daker’s Biometrics are contained in the Biometric Database.



                                                 15
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 16 of 52 PageID #:10748




ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

        49.    After scraping photographs from the internet, the Clearview Defendants, singularly
and/or in concert, performed facial geometric scans of the various faces in the scraped photographs,
including Plaintiffs’ and Plaintiff Class Members’ faces, in order to collect, capture and obtain the
Biometrics from those faces.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

      50.      Additionally, the Clearview Defendants distributed and disseminated the
Biometrics of Plaintiffs and Plaintiff Class Members to Rocky Mountain who, after obtaining the
Biometrics, then redistributed and disseminated them to the Illinois Secretary of State.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

        51.     The Clearview Defendants also distributed and disseminated the Biometrics of
Plaintiffs and Plaintiff Class Members to the Macy’s Entities and Defendant Class Members who,
as alleged above, purchased access to the Biometric Database and then repeatedly obtained the
Biometrics contained therein in connection with running biometric searches.

ANSWER:        The Macy’s Entities deny the allegations asserted against them in this paragraph.

The Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations that are asserted in this paragraph against any Defendant other than the Macy’s Entities

and therefore deny them.

        52.    Clearview, Rocky Mountain, Ton-That, Schwartz and Mulcaire profited from the
Biometrics in the Biometric Database, including the Biometrics of Plaintiffs and Plaintiff Class
Members, by selling, leasing and trading them to thousands of governmental and private entities,
as alleged herein.


                                                 16
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 17 of 52 PageID #:10749




ANSWER:        The allegations of this paragraph are not asserted against Macy’s Entities. Pursuant

to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required, the Macy’s

Entities lack knowledge or information sufficient to form a belief as to the truth of the allegations

contained in this paragraph and therefore deny them.

      53.      The Macy’s Entities and Defendant Class Members also profited from the
Biometrics in the Biometric Database, including the Biometrics of Plaintiffs and Plaintiff Class
Members, by using those Biometrics to prevent losses and/or improve the customer’s experience.

ANSWER:        The Macy’s Entities deny the allegations against them in this paragraph. The

Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations that are asserted in this paragraph against any Defendant other than the Macy’s Entities

and therefore deny them.

        54.     Defendants: (a) never informed Plaintiffs or Plaintiff Class Members in writing or
otherwise of the purpose for which they were collecting, capturing, obtaining, purchasing,
disclosing, redisclosing and disseminating the Biometrics of Plaintiffs and Plaintiff Class
Members; and (b) never sought, nor received, a written release or other consent from Plaintiffs or
Plaintiff Class Members or the respective authorized representatives of Plaintiffs or Plaintiff Class
Members that allowed Defendants to collect, capture, obtain, purchase, disclose, redisclose and
disseminate the Biometrics of Plaintiffs and Plaintiff Class Members.

ANSWER:        The Macy’s Entities deny that they collected, captured, obtained, purchased,

disclosed, redisclosed or disseminated the Biometrics of Plaintiffs or Plaintiff Class Members and

therefore deny the allegations asserted against them in this paragraph. The Macy’s Entities lack

knowledge or information sufficient to form a belief as to the truth of the allegations that are

asserted in this paragraph against any Defendant other than the Macy’s Entities and therefore deny

them.

       55.     Further, Plaintiffs and Plaintiff Class Members never consented, agreed or gave
permission – written or otherwise – to Defendants for the collection or storage of their unique
Biometrics. Indeed, prior to the Biometric Database being publicized, Plaintiffs and Plaintiff Class
Members had no idea Defendants were ever in possession of their photographs.




                                                 17
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 18 of 52 PageID #:10750




ANSWER:        The Macy’s Entities deny that they collected or stored any Plaintiff’s or Plaintiff

Class Member’s unique Biometrics, or publicized the Biometric Database, and therefore deny the

allegations asserted against them in this paragraph. The Macy’s Entities lack knowledge or

information sufficient to form a belief as to the truth of the allegations asserted in this paragraph

against any Defendant other than the Macy’s Entities and therefore deny them.

       56.     Likewise, Defendants never provided Plaintiffs or Plaintiff Class Members with an
opportunity to prohibit or prevent the collection, storage, use or dissemination of their unique
Biometrics.

ANSWER:        The Macy’s Entities deny that they collected, stored, used or disseminated any

Plaintiff’s or Plaintiff Class Member’s unique Biometrics and therefore deny the allegations

asserted against them in this paragraph. The Macy’s Entities lack knowledge or information

sufficient to form a belief as to the truth of the allegations asserted in this paragraph against any

Defendant other than the Macy’s Entities and therefore deny them.

The Injuries to and Damages of Plaintiffs and Plaintiff Class Members

        57.    As alleged herein, as a result of Defendants’ unlawful conduct, Plaintiffs and
Plaintiff Class Members have already sustained injuries and face many more imminent and
certainly impending injuries, which injuries they will continue to suffer.

ANSWER:        The Macy’s Entities deny the allegations asserted against them in this paragraph.

The Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations asserted in this paragraph against any Defendant other than Macy’s and therefore deny

them.

       58.      Defendants’ unlawful conduct has resulted in, among other things: (a) Plaintiffs’
and Plaintiff Class Members’ unique Biometrics being collected, captured, obtained, purchased,
disclosed, redisclosed and otherwise disseminated without the requisite notice having been given
and without the requisite releases or consents having been obtained; and (b) Plaintiffs and Plaintiff
Class Members being deprived of control over their Biometrics.

ANSWER:        The Macy’s Entities deny the allegations asserted against them in this paragraph.

The Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

                                                 18
74983756v2
    Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 19 of 52 PageID #:10751




allegations asserted in this paragraph against any Defendant other than the Macy’s Entities and

therefore deny them.

        59.     To this day, Plaintiffs and Plaintiff Class Members do not know which, or how
many, individuals or entities have received, obtained, purchased, received through trade, accessed,
stored, disclosed, redisclosed or otherwise made use of Plaintiffs’ and Plaintiff Class Members’
Biometrics, exposing them to the imminent and certainly impending injuries of identity theft,
fraud, stalking, surveillance, social engineering and other invasions of privacy.3

ANSWER:          The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

        60.    As a result of Defendants’ misconduct, Plaintiffs and Plaintiff Class Members have
no recourse for the fact that their biologically unique information has been compromised.
Moreover, Plaintiffs and Plaintiff Class Members are likely to withdraw from biometric-facilitated
transactions and other facially-mediated electronic participation.

ANSWER:          The Macy’s Entities deny the allegations asserted against them in this paragraph.

The Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations asserted in this paragraph against any Defendant other than the Macy’s Entities and

therefore deny them.

                                  CLASS ACTION ALLEGATIONS

        61.    Plaintiffs brings this action pursuant to Federal Rule of Civil Procedure 23(b)(2)-
(3) and 23(c)(4) on behalf of themselves himself and the following classes:

                 a.       Nationwide Class: All individuals in the United States of America whose
                          Biometrics were or are contained in the Biometric Database.

                 b.       Illinois Subclass: All individuals who reside or resided in the State of
                          Illinois whose Biometrics were or are contained in the Biometric Database.

The Nationwide Class and Illinois Subclass are at times collectively referred to hereinafter as the
“Plaintiff Classes.”




3
        Facial      Recognition        Tech:       10       Views        on       Risks      and         Rewards,
https://www.forbes.com/sites/forbestechcouncil/2018/04/03/facial-recognition-tech-10-views-on-risks-and-
rewards/#54d3e1716b3c (accessed on Mar. 15, 2021)

                                                       19
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 20 of 52 PageID #:10752




ANSWER:         The Macy’s Entities admit Plaintiffs purport to bring this action pursuant to Federal

Rule of Civil Procedure 23(b)(2)-(3) and 23(c)(4) on behalf of themselves and individuals who

meet the definitions of the Plaintiff Classes proposed in Subparagraphs 61(a) – (b), but deny that

any claim asserted against the Macy’s Entities are appropriate for certification of a class pursuant

to either Fed. R. Civ. P. 23(b)(2), (b)(3) or (c)(4).

        62.     Excluded from the above-described Plaintiff Classes are: (a) Defendants; (b) any
parent, affiliate or subsidiary of any Defendant; (c) any entity in which any Defendant has a
controlling interest; (d) any of Defendants’ officers or directors; and (e) any successor or assign of
any Defendant. Also excluded are any judge or court personnel assigned to this case and members
of their immediate families.

ANSWER:         The Macy’s Entities admit Plaintiffs purport to exclude certain individuals from the

proposed definitions of the various Plaintiff Classes, but deny that any claim asserted against the

Macy’s Entities are appropriate for certification of a class pursuant to Fed. R. Civ. P. 23.

        63.    Additionally, on behalf of themselves himself and the members of the Plaintiff
Classes, Plaintiffs bring this action against a class of entities similarly situated to the Macy’s
Entities pursuant to Federal Rule of Civil Procedure 23(b)(2)-(3) and 23(c)(4), defined as follows:

        Clearview Client Class: All non-governmental, private entities – including
        publicly-traded companies – who purchased access to, or otherwise obtained, the
        Biometric Database and then utilized the database to run biometric searches at a
        time when the Biometrics of one or more of the named Plaintiffs and members of
        the Plaintiff Classes had already been captured, collected or obtained, and
        subsequently stored, by the Clearview Defendants.

ANSWER:         The Macy’s Entities admit Plaintiffs purport to bring this action on behalf of

themselves and the members of the Plaintiff Classes against a class of entities that Plaintiffs allege

are similarly situated to the Macy’s Entities pursuant to Federal Rule of Civil Procedure 23(b)(2)-

(3) and 23(c)(4), but deny that they are is similarly situated to any member of the purported class

of entities, which Plaintiffs label the “Clearview Client Class,” and further deny it is appropriate

to certify the Clearview Client Class pursuant to either Fed. R. Civ. P. 23(b)(2), (b)(3) or (c)(4).

        64.     The Plaintiff Classes and the Clearview Client Class are at times collectively
referred to hereinafter as the “Classes”.

                                                   20
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 21 of 52 PageID #:10753




ANSWER:         The Macy’s Entities admit that Plaintiffs sometimes refer to the Plaintiff Classes

and the Clearview Client Class collectively as the “Classes,” but deny that any claim asserted

against the Macy’s Entities are appropriate for certification of a class pursuant to either Fed. R.

Civ. P. 23(b)(2), (b)(3) or (c)(4).

        65.     Plaintiffs reserve the right to amend or modify the class definitions with greater
specificity or division after having had an opportunity to conduct discovery.

ANSWER:         The Macy’s Entities deny Plaintiffs can indefinitely reserve their rights to amend

or modify the class definitions and therefore deny the allegations contained in this paragraph.

        66.     Numerosity: Members of each of the Classes are so numerous that their individual
joinder herein is impracticable. Upon information and belief, the members of the Plaintiff Classes
number in the millions, and the number of members of the Clearview Client Class exceeds forty.
The precise number of members of the Classes and their identities are unknown to Plaintiffs at this
time but may be determined through discovery and objective data. Members of the Classes may
be notified of the pendency of this action by mail, electronic mail, internet postings, social media
and/or publication.

ANSWER:         The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny that any claim asserted

against them is appropriate for certification of a class pursuant to Fed. R. Civ. P. 23 and therefore

deny the allegations asserted against them in this paragraph. The Macy’s Entities lack knowledge

or information sufficient to form a belief as to the remaining allegations contained in this paragraph

and therefore deny them.

       67.    Commonality and predominance: Common questions of law and fact exist as to
all members of the Classes and predominate over questions affecting only individual members.
Common legal and factual questions include, but are not limited to:

                a.      Whether Defendants engaged in the wrongful conduct alleged herein;

                b.      Whether Defendants and members of the Clearview Client Class captured,
                        collected, obtained, accessed, created, stored, used, commercialized,
                        disseminated, disclosed or redisclosed the Biometrics of Plaintiffs and
                        members of the Plaintiff Classes;



                                                 21
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 22 of 52 PageID #:10754




             c.   Whether the actions of Defendants and members of the Clearview Client
                  Class violated state statutory and common law;

             d.   Whether Defendants and members of the Clearview Client Class properly
                  informed Plaintiffs and members of the Plaintiff Classes that they were
                  collecting, capturing, obtaining, creating, accessing, storing, using,
                  commercializing, disseminating, disclosing and redisclosing their
                  Biometrics;

             e.   Whether Defendants and members of the Clearview Client Class obtained
                  signed written releases or any other form or consent from Plaintiffs or
                  members of the Plaintiff Classes to engage in the practices alleged herein;

             f.   Whether Defendants and members of the Clearview Client Class used the
                  Biometrics of Plaintiffs and members of the Plaintiff Classes to identify
                  them;

             g.   Whether Defendants and members of the Clearview Client Class acted
                  negligently, recklessly or intentionally in, directly or indirectly, scraping
                  individuals’ photographs from the internet and/or using them to identify
                  individuals based upon facial geometry;

             h.   Whether Defendants and members of the Clearview Client Class should be
                  enjoined from continuing their practices;

             i.   Whether Defendants and members of the Clearview Client Class failed to
                  provide notice that they were, directly or indirectly, scraping individuals’
                  photographs from the internet and/or using them to identify individuals
                  based upon facial geometry;

             j.   Whether Defendants and members of the Clearview Client Class failed to
                  provide notice that they were collecting, capturing, obtaining, accessing,
                  using, storing and disseminating individuals’ images, facial geometry and
                  Biometrics;

             k.   Whether Defendants and members of the Clearview Client Class provided
                  any mechanism for members of the Plaintiff Classes to consent to their
                  practices;

             l.   Whether Macy’s and members of the Clearview Client Class purchased or
                  otherwise obtained access to the Biometric Database; and

             m.   Whether Macy’s and members of the Clearview Client Class collected,
                  purchased, received through trade or otherwise obtained the Biometrics of
                  Plaintiffs and members of the Plaintiff Classes.




                                           22
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 23 of 52 PageID #:10755




ANSWER:        The allegations contained in this paragraph and subparagraphs are legal conclusions

to which no answer is required. To the extent an answer is required, the Macy’s Entities deny that

any claim asserted against them are appropriate for certification of a class pursuant to Fed. R. Civ.

P. 23 and therefore deny the allegations asserted against them in this paragraph. The Macy’s

Entities lack knowledge or information sufficient to form a belief as to the remaining allegations

contained in this paragraph and therefore deny them.

        68.     Typicality: The claims of the named Plaintiffs are typical of the claims of members
of the Plaintiff Classes because Plaintiffs and all members of the proposed Plaintiff Classes have
suffered similar injuries as a result of the same practices alleged herein. Plaintiffs have no interests
to advance adverse to the interests of the other members of the proposed Plaintiff Classes.
Similarly, the defenses of Macy’s are typical of the defenses of members of the Clearview Client
Class because Macy’s and all members of the proposed Clearview Client Class have engaged in
similar conduct and injured Plaintiffs and members of the Plaintiff Classes in similar ways.
Plaintiffs are unaware of any interests of Macy’s that are adverse to the interests of the other
members of the Proposed Clearview Client Class.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny that any claim asserted

against them are appropriate for certification of a class pursuant to Fed. R. Civ. P. 23 and therefore

deny the allegations asserted against them in this paragraph. The Macy’s Entities lack knowledge

or information sufficient to form a belief as to the remaining allegations contained in this paragraph

and therefore deny them.

        69.      Adequacy: Plaintiffs are adequate representatives of the Plaintiff Classes because
their interests do not conflict with the interests of the members they seek to represent, they have
retained competent counsel experienced in prosecuting class actions, and they intend to prosecute
this action vigorously. The interests of the members of the Plaintiff Classes will be fairly and
adequately protected by Plaintiffs and their counsel. Similarly, the Macy’s Entities are adequate
representatives of the Clearview Client Class because their interests do not conflict with the
interests of the members of the Clearview Client Class. Further, Plaintiffs anticipate that the
Macy’s Entities will retain competent and experienced counsel who will defend this action
vigorously. The interests of the members of the Clearview Client Class will be fairy and adequately
protected by the Macy’s Entities and their counsel.




                                                  23
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 24 of 52 PageID #:10756




ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny that any claim asserted

against them are appropriate for certification of a class pursuant to Fed. R. Civ. P. 23 and therefore

deny the allegations asserted against them in this paragraph. The Macy’s Entities lack knowledge

or information sufficient to form a belief as to the remaining allegations contained in this paragraph

and therefore deny them.

         70.     Superiority: The class mechanism is superior to other available means for the fair
and efficient adjudication of the claims and defenses of the members of the Plaintiff Classes and
the Clearview Client Class. Each individual member of the Plaintiff Classes may lack the resources
to undergo the burden and expense of individual prosecution of the complex and extensive
litigation necessary to establish Defendants’ and the Clearview Client Class’s liability. Further,
individualized litigation increases the delay and expense to all parties and multiplies the burden on
the judicial system presented by the complex legal and factual issues of this case. Individualized
litigation also presents a potential for inconsistent or contradictory judgments. In contrast, the class
action device presents far fewer management difficulties and provides the benefits of a single
adjudication, economy of scale and comprehensive supervision by a single court on the issue of
the liability of Defendants and members of the Clearview Client Class. Class treatment of the
liability issues will ensure that all claims and claimants are before this Court for consistent
adjudication of the liability issues.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny that any claim asserted

against them are appropriate for certification of a class pursuant to Fed. R. Civ. P. 23 and therefore

deny the allegations asserted against them The allegations of this paragraph contain legal

conclusions to which no answer is required. To the extent an answer is required, the Macy’s

Entities deny the allegations asserted against them in this paragraph. The Macy’s Entities lack

knowledge or information sufficient to form a belief as to the truth of the allegations asserted in

this paragraph against any Defendant other than the Macy’s Entities and therefore deny them in

this paragraph. The Macy’s Entities lack knowledge or information sufficient to form a belief as

to the remaining allegations contained in this paragraph and therefore deny them.



                                                  24
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 25 of 52 PageID #:10757




        71.    In the alternative, the proposed classes may be certified because:

               a.      The prosecution and defense of separate actions by each individual member
                       of the proposed Classes would create a risk of inconsistent adjudications,
                       which could establish incompatible standards of conduct for Defendants;

               b.      The prosecution and defense of individual actions could result in
                       adjudications that as a practical matter would be dispositive of the interests
                       of non-party Class Members or which would substantially impair their
                       ability to protect their interests; and

               c.      Defendants acted or refused to act on grounds generally applicable to the
                       proposed Classes, thereby making final and injunctive relief appropriate
                       with respect to members of the proposed Classes.

ANSWER:        The allegations of this paragraph and subparagraphs contain legal conclusions to

which no answer is required. To the extent an answer is required, the Macy’s Entities deny that

any claim asserted against them are appropriate for certification of a class pursuant to Fed. R. Civ.

P. 23 and therefore deny the allegations asserted against them in this paragraph. The Macy’s

Entities lack knowledge or information sufficient to form a belief as to the remaining allegations

contained in this paragraph and therefore deny them.

      72.      Pursuant to Rule 23(c)(4), particular issues are appropriate for certification –
namely the issues described in paragraph 67 above, because resolution of such issues would
advance the disposition of the matter and the parties’ interests therein.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny that any claim asserted

against them are appropriate for certification of a class pursuant to Fed. R. Civ. P. 23 and therefore

deny the allegations asserted against them in this paragraph. The Macy’s Entities lack knowledge

or information sufficient to form a belief as to the remaining allegations contained in this paragraph

and therefore deny them.




                                                 25
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 26 of 52 PageID #:10758




                                        COUNT ONE
                         VIOLATION OF BIPA – 740 ILCS 14/15(b)
    (By Plaintiffs, on Behalf of Themselves and Members of the Illinois Subclass, Against
          Defendants Clearview, Ton-That, Schwartz and the Macy’s Entities and
                           Members of the Clearview Client Class)

       73.    Plaintiffs restate and reallege paragraphs 1 through 72 of this First Amended
Consolidated Class Action Complaint as though fully set forth herein.

ANSWER:        The Macy’s Entities restate and reincorporate by reference their answers to

paragraphs 1 through 72 as if fully set forth herein.

       74.     BIPA seeks to safeguard individuals’ biometrics identifiers and biometric
information.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities admit that 740 ICS 14/5 states:

“The public welfare, security, and safety will be served by regulating the collection, use,

safeguarding, handling, storage, retention, and destruction of biometric identifiers and

information.” The Macy’s Entities deny the remaining allegations contained in this paragraph.

      75.     Pursuant to BIPA, biometric identifiers include a scan of an individual’s face
geometry. 740 ILCS 14/10.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities admit that 740 ILCS 14/10 states:

“‘Biometric identifier’ means a… scan of hand or face geometry. Biometric identifiers do not

include writing samples, written signatures, photographs, human biological samples used for valid

scientific testing or screening, demographic data, tattoo descriptions, or physical descriptions such

as height, weight, hair color, or eye color.” The Macy’s Entities deny the remaining allegations

contained in this paragraph.




                                                 26
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 27 of 52 PageID #:10759




       76.     Pursuant to BIPA, biometric information is “any information . . . based on an
individual’s biometric identifier used to identify an individual.” 740 ILCS 14/10.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities admit that 740 ILCS 14/10 states

“‘Biometric information’ means any information, regardless of how it is captured, converted,

stored, or shared, based on an individual's biometric identifier used to identify an individual.

Biometric information does not include information derived from items or procedures excluded

under the definition of biometric identifiers.” The Macy’s Entities deny the remaining allegations

contained in this paragraph.

        77.     Pursuant to BIPA, a private entity, such as each Defendant, see 740 ILCS 14/10, is
among other things, prohibited from collecting, capturing, purchasing, receiving through trade or
otherwise obtaining an individual’s biometric identifiers and information without first: (a)
informing the individual or the individual’s authorized representative in writing that the biometric
identifier and information are being collected or stored; (b) informing the individual or the
individual’s authorized representative of the specific purpose and length of term for which the
biometric identifier and information are being collected, stored and used; and (c) obtaining a
written release. 740 ILCS 14/15(b).

ANSWER:        The Macy’s Entities admit that they are private entities. The Macy’s Entities lack

knowledge or information sufficient to form a belief as to the allegations asserted in this paragraph

against any Defendant other than the Macy’s Entities and therefore deny them. The remaining

allegations in the paragraph are legal conclusions to which no answer is required. To the extent an

answer is required, the Macy’s Entities deny that the remaining allegations of this paragraph

accurately state or summarize the provisions of 740 ILCS 14/15(b)(1) through (3) and therefore

deny them.

         78.    Pursuant to BIPA, a private entity, such as each Defendant, see 740 ILCS 14/10:
(a) is prohibited from selling, leasing, trading or otherwise profiting from an individual’s biometric
identifiers and information; (b) is prohibited from disclosing, redisclosing or otherwise
disseminating an individual’s biometric identifiers or information without first obtaining consent;
and (c) must store, transmit and protect from disclosure all biometric identifiers and biometric
information in its possession using the reasonable standard of care within the private entity’s
industry and in a manner which is the same as or more protective than the manner in which the

                                                 27
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 28 of 52 PageID #:10760




private entity stores, transmits and protects other confidential and sensitive information. 740 ILCS
14/15(c)-(e).

ANSWER:        The Macy’s Entities admit that they are private entities. The Macy’s Entities lack

knowledge or information sufficient to form a belief as to the allegations asserted in this paragraph

against any Defendant other than Macy’s and therefore deny them. The remaining allegations in

the paragraph are legal conclusions to which no answer is required. To the extent an answer is

required, the Macy’s Entities deny that the remaining allegations of this paragraph accurately state

or summarize the provisions of 740 ILCS 14/15(c) through (e) and therefore deny them.

        79.    BIPA provides for a private right of action and allows a prevailing party to recover
liquidated damages in the amount of: (a) $1,000 or actual damages, whichever is greater, for
negligent violations of its provisions; and (b) $5,000 or actual damages, whichever is greater, for
intentional or reckless violations of its provisions. 740 ILCS 14/20. BIPA also allows for the
recovery of attorneys’ fees and costs and injunctive relief. 740 ILCS 14/20.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny that the allegations of this

paragraph accurately state or summarize the provisions of 740 ILCS 14/20 and therefore deny

them.

        80.    As alleged above, Defendants Clearview, Ton-That, Schwartz and the Macy’s
Entities and members of the Clearview Client Class violated BIPA by collecting, capturing,
purchasing, receiving through trade and/or otherwise obtaining individuals’ biometric identifiers
and information, including the biometric identifiers and information of Plaintiffs and members of
the Illinois Subclass, without first providing the requisite written information and without
obtaining the requisite written releases.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.



                                                 28
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 29 of 52 PageID #:10761




        81.     The BIPA violations of Defendants Clearview, Ton-That, Schwartz and the Macy’s
Entities and members of the Clearview Client Class were intentional and reckless or, pleaded in
the alternative, negligent.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than Macy’s and therefore deny them.

      82.    As a direct and proximate result of the BIPA violations of Defendants Clearview,
Ton-That, Schwartz and the Macy’s Entities and members of the Clearview Client Class, Plaintiffs
and members of the Illinois Subclass have suffered and will continue to suffer injury.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.

       83.     Plaintiffs and members of the Illinois Subclass seek as monetary relief the greater
of $5,000 or actual damages or, pleaded in the alternative, $1,000 or actual damages.

ANSWER:        The Macy’s Entities deny that Plaintiffs and members of the Illinois Subclass are

entitled to any award of damages against any one of them. The Macy’s Entities lack knowledge or

information sufficient to form a belief as to the truth of the allegations asserted in this paragraph

against any Defendant other than the Macy’s Entities and therefore deny them.

       84.     Unless and until enjoined and restrained by order of this Court, the wrongful
conduct of Defendants Clearview, Ton-That, Schwartz and the Macy’s Entities and members of
the Clearview Client Class will continue to cause great and irreparable injury to Plaintiffs and
members of the Illinois Subclass in that their biometric identifiers and information can be viewed
and used by unauthorized persons. Plaintiffs and members of the Illinois Subclass have no
adequate remedy at law for their injuries in that a judgment for monetary damages will not end the
misuse of their biometric identifiers and information.


                                                 29
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 30 of 52 PageID #:10762




ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.

        85.     Plaintiffs and members of the Illinois Subclass also seek punitive damages,
injunctive relief and the reasonable attorney’s fees, costs and expenses relating to this action.

ANSWER:        The Macy’s Entities deny that Plaintiffs and members of the Illinois Subclass are

entitled to any award of relief against them. The Macy’s Entities lack knowledge or information

sufficient to form a belief as to the truth of the allegations asserted in this paragraph against any

Defendant other than the Macy’s Entities and therefore deny them.

                                       COUNT TWO
                         VIOLATION OF BIPA – 740 ILCS 14/15(b)
    (By Plaintiffs, on Behalf of Themselves and Members of the Illinois Subclass, Against
        Defendants Rocky Mountain, Clearview, Ton-That, Schwartz and Mulcaire)

       86.   Plaintiffs restate and reallege paragraphs 1 through 72 and 74 through 79 of this
First Amended Consolidated Class Action Complaint as though fully set forth herein.

ANSWER:        The Macy’s Entities restate and reincorporate by reference their answers to

paragraphs 1 through 72 and 74 through 79 as if fully set forth herein.

        87.      In or about September 2019, Rocky Mountain collected, captured, purchased,
received through trade and/or otherwise obtained the biometric identifiers and information of
Plaintiffs and members of the Illinois Subclass, among others, for the purpose of distributing,
redistributing and disseminating those biometric identifiers and biometric information to Illinois
entities in Illinois, including the Illinois Secretary of State.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

       88.    As alleged above, Defendants Rocky Mountain, Clearview, Ton-That, Schwartz
and Mulcaire violated BIPA by collecting, capturing, purchasing, receiving through trade and/or
otherwise obtaining individuals’ biometric identifiers and information, including the biometric


                                                 30
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 31 of 52 PageID #:10763




identifiers and information of Plaintiffs and members of the Illinois Subclass, without first
providing the requisite written information and without obtaining the requisite written releases.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

      89.    The BIPA violations of Defendants Rocky Mountain, Clearview, Ton-That,
Schwartz and Mulcaire were intentional and reckless or, pleaded in the alternative, negligent.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

       90.    As a direct and proximate result of the BIPA violations of Defendants Rocky
Mountain, Clearview, Ton-That, Schwartz and Mulcaire, Plaintiffs and members of the Illinois
Subclass have suffered and will continue to suffer injury.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

       91.     Plaintiffs and members of the Illinois Subclass seek as monetary relief the greater
of $5,000 or actual damages or, pleaded in the alternative, $1,000 or actual damages.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

         92.   Unless and until enjoined and restrained by order of this Court, the wrongful
conduct of Defendants Rocky Mountain, Clearview, Ton-That, Schwartz and Mulcaire will
continue to cause great and irreparable injury to Plaintiffs and members of the Illinois Subclass in
that their biometric identifiers and information can be viewed and used by unauthorized persons.
Plaintiffs and members of the Illinois Subclass have no adequate remedy at law for their injuries
in that a judgment for monetary damages will not end the misuse of their biometric identifiers and
information.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

        93.     Plaintiffs and members of the Illinois Subclass also seek punitive damages,
injunctive relief and the reasonable attorney’s fees, costs and expenses relating to this action.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

                                                31
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 32 of 52 PageID #:10764




                                      COUNT THREE
                        VIOLATION OF BIPA – 740 ILCS § 14/15(c)
    (By Plaintiffs, on Behalf of Themselves and Members of the Illinois Subclass, Against
          Defendants Clearview, Ton-That, Schwartz and the Macy’s Entities and
                           Members of the Clearview Client Class)

       94.   Plaintiffs restate and reallege paragraphs 1 through 72 and 74 through 79 of this
First Amended Consolidated Class Action Complaint, as though fully set forth herein.

ANSWER:        The Macy’s Entities restate and reincorporate by reference their answers to

paragraphs 1 through 72 and 74 through 79 as if fully set forth herein.

        95.    As alleged above, Defendants Clearview, Ton-That, Schwartz and the Macy’s
Entities and the Clearview Client Class violated BIPA by unlawfully selling, leasing, trading and
otherwise profiting from individuals’ biometric identifiers and biometric information, including
the biometric identifiers and information of Plaintiffs and members of the Illinois Subclass.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than Macy’s and therefore deny them.

        96.     The BIPA violations of Defendants Clearview, Ton-That, Schwartz and the Macy’s
Entities and members of the Clearview Client Class were intentional and reckless or, pleaded in
the alternative, negligent.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.

      97.    As a direct and proximate result of the BIPA violations of Defendants Clearview,
Ton-That, Schwartz and the Macy’s Entities and members of the Clearview Client Class, Plaintiffs
and members of the Illinois Subclass have suffered and will continue to suffer injury.



                                                32
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 33 of 52 PageID #:10765




ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.

       98.     Plaintiffs and members of the Illinois Subclass seek as monetary relief the greater
of $5,000 or actual damages or, pleaded in the alternative, $1,000 or actual damages.

ANSWER:        The Macy’s Entities deny that Plaintiffs and members of the Illinois Subclass are

entitled to any award of damages against them. The Macy’s Entities lack knowledge or information

sufficient to form a belief as to the truth of the allegations asserted in this paragraph against any

Defendant other than the Macy’s Entities and therefore deny them.

       99.     Unless and until enjoined and restrained by order of this Court, the wrongful
conduct of Defendants Clearview, Ton-That, Schwartz and the Macy’s Entities and members of
the Clearview Client Class will continue to cause great and irreparable injury to Plaintiffs and
members of the Illinois Subclass in that their biometric identifiers and information can be viewed
and used by unauthorized persons. Plaintiffs and members of the Illinois Subclass have no
adequate remedy at law for their injuries in that a judgment for monetary damages will not end the
misuse of their biometric identifiers and information.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.

        100. Plaintiffs and members of the Illinois Subclass also seek punitive damages,
injunctive relief and the reasonable attorney’s fees, costs and expenses relating to this action.

ANSWER:        The Macy’s Entities deny that Plaintiffs and members of the Illinois Subclass are

entitled to any award of relief against them. The Macy’s Entities lack knowledge or information



                                                 33
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 34 of 52 PageID #:10766




sufficient to form a belief as to the truth of the allegations asserted in this paragraph against any

Defendant other than the Macy’s Entities and therefore deny them.

                                       COUNT FOUR
                        VIOLATION OF BIPA – 740 ILCS § 14/15(c)
    (By Plaintiffs, on Behalf of Themselves and Members of the Illinois Subclass, Against
        Defendants Rocky Mountain, Clearview, Ton-That, Schwartz and Mulcaire)

       101. Plaintiffs restate and reallege paragraphs 1 through 72 and 74 through 79 of this
First Amended Consolidated Class Action Complaint, as though fully set forth herein.

ANSWER:        The Macy’s Entities hereby restate and reincorporate by reference their answers to

paragraphs 1 through 72 and 74 through 79 as if fully set forth herein.

         102. As alleged above, through the contract between Defendant Rocky Mountain and
the Illinois Secretary of State, Defendants Rocky Mountain, Clearview, Ton-That, Schwartz and
Mulcaire violated BIPA by unlawfully selling, leasing, trading and otherwise profiting from
individuals’ biometric identifiers and biometric information, including the biometric identifiers
and information of Plaintiffs and members of the Illinois Subclass.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

      103. The BIPA violations of Defendants Rocky Mountain, Clearview, Ton-That,
Schwartz and Mulcaire were intentional and reckless or, pleaded in the alternative, negligent.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

       104. As a direct and proximate result of the BIPA violations of Defendants Rocky
Mountain, Clearview, Ton-That, Schwartz and Mulcaire, Plaintiffs and members of the Illinois
Subclass have suffered and will continue to suffer injury.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

       105. Plaintiffs and members of the Illinois Subclass seek as monetary relief the greater
of $5,000 or actual damages or, pleaded in the alternative, $1,000 or actual damages.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

                                                 34
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 35 of 52 PageID #:10767




         106. Unless and until enjoined and restrained by order of this Court, the wrongful
conduct of Defendants Rocky Mountain, Clearview, Ton-That, Schwartz and Mulcaire will
continue to cause great and irreparable injury to Plaintiffs and members of the Illinois Subclass in
that their biometric identifiers and information can be viewed and used by unauthorized persons.
Plaintiffs and members of the Illinois Subclass have no adequate remedy at law for their injuries
in that a judgment for monetary damages will not end the misuse of their biometric identifiers and
information.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

        107. Plaintiffs and members of the Illinois Subclass also seek punitive damages,
injunctive relief and the reasonable attorney’s fees, costs and expenses relating to this action.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

                                       COUNT FIVE
                         VIOLATION OF BIPA – 740 ILCS § 14/15(d)
    (By Plaintiffs, on Behalf of Themselves and Members of the Illinois Subclass, Against
                        Defendants Clearview, Ton-That and Schwartz)

       108. Plaintiffs restate and reallege paragraphs 1 through 72 and 74 through 79 of this
First Amended Consolidated Class Action Complaint as though fully set forth herein.

ANSWER:        The Macy’s Entities restate and reincorporate by reference their answers to

paragraphs 1 through 72 and 74 through 79 as if fully set forth herein.

         109. As alleged above, Defendants Clearview, Ton-That and Schwartz violated BIPA
by disclosing, redisclosing and otherwise disseminating individuals’ biometric identifiers and
information, including the biometric identifiers and information of Plaintiffs and members of the
Illinois Subclass, even though: (a) neither the subjects of the biometric identifiers and information
nor their authorized representatives consented to the disclosure and redisclosure; (b) the disclosure
and redisclosure did not complete a financial transaction requested or authorized by the subjects
of the biometric identifiers and information or their authorized representatives; (c) the disclosure
and redisclosure were not required by State or federal law or municipal ordinance; and (d) the
disclosure and redisclosure were not required pursuant to a valid warrant or subpoena issued by a
court of competent jurisdiction.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.



                                                 35
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 36 of 52 PageID #:10768




        110. The BIPA violations of Defendants Clearview, Ton-That and Schwartz were
intentional and reckless or, pleaded in the alternative, negligent.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

       111. As a direct and proximate result of the BIPA violations of Defendants Clearview,
Ton-That and Schwartz, Plaintiffs and members of the Illinois Subclass have suffered and will
continue to suffer injury.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

       112. Plaintiffs and members of the Illinois Subclass seek as monetary relief the greater
of $5,000 or actual damages or, pleaded in the alternative, $1,000 or actual damages.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

        113. Unless and until enjoined and restrained by order of this Court, the wrongful
conduct of Defendants Clearview, Ton-That and Schwartz will continue to cause great and
irreparable injury to Plaintiffs and members of the Illinois Subclass in that their biometric
identifiers and information can be viewed and used by unauthorized persons. Plaintiffs and
members of the Illinois Subclass have no adequate remedy at law for their injuries in that a
judgment for monetary damages will not end the misuse of their biometric identifiers and
information.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

        114. Plaintiffs and members of the Illinois Subclass also seek punitive damages,
injunctive relief and the reasonable attorneys’ fees, costs and expenses relating to this action.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.




                                                36
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 37 of 52 PageID #:10769




                                        COUNT SIX
                        VIOLATION OF BIPA – 740 ILCS § 14/15(d)
    (By Plaintiffs, on Behalf of Themselves and Members of the Illinois Subclass, Against
        Defendants Rocky Mountain, Clearview, Ton-That, Schwartz and Mulcaire)

       115. Plaintiffs restate and reallege paragraphs 1 through 72 and 74 through 79 of this
First Amended Consolidated Class Action Complaint as though fully set forth herein.

ANSWER:        The Macy’s Entities restate and reincorporate by reference their answers to

paragraphs 1 through 72 and 74 through 79 as if fully set forth herein.

        116. As alleged above, Defendants Rocky Mountain, Clearview, Ton-That, Schwartz
and Mulcaire violated BIPA by disclosing, redisclosing and otherwise disseminating individuals’
biometric identifiers and information to the Illinois Secretary of State in Illinois, including the
biometric identifiers and information of Plaintiffs and members of the Illinois Subclass, even
though: (a) neither the subjects of the biometric identifiers and information nor their authorized
representatives consented to the disclosure and redisclosure; (b) the disclosure and redisclosure
did not complete a financial transaction requested or authorized by the subjects of the biometric
identifiers and information or their authorized representatives; (c) the disclosure and redisclosure
were not required by State or federal law or municipal ordinance; and (d) the disclosure and
redisclosure were not required pursuant to a valid warrant or subpoena issued by a court of
competent jurisdiction.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

       117. The BIPA violations of Defendants Clearview, Ton-That, Schwartz and Mulcaire
were intentional and reckless or, pleaded in the alternative, negligent.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

       118. As a direct and proximate result of the BIPA violations of Defendants Clearview,
Ton-That, Schwartz and Mulcaire, Plaintiffs and members of the Illinois Subclass have suffered
and will continue to suffer injury.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

       119. Plaintiffs and members of the Illinois Subclass seek as monetary relief the greater
of $5,000 or actual damages or, pleaded in the alternative, $1,000 or actual damages.



                                                37
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 38 of 52 PageID #:10770




ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

        120. Unless and until enjoined and restrained by order of this Court, the wrongful
conduct of Defendants Clearview, Ton-That, Schwartz and Mulcaire will continue to cause great
and irreparable injury to Plaintiffs and members of the Illinois Subclass in that their biometric
identifiers and information can be viewed and used by unauthorized persons. Plaintiffs and
members of the Illinois Subclass have no adequate remedy at law for their injuries in that a
judgment for monetary damages will not end the misuse of their biometric identifiers and
information.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

        121. Plaintiffs and members of the Illinois Subclass also seek punitive damages,
injunctive relief and the reasonable attorneys’ fees, costs and expenses relating to this action.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

                                      COUNT SEVEN
                        VIOLATION OF BIPA – 740 ILCS § 14/15(e)
    (By Plaintiffs, on Behalf of Themselves and Members of the Illinois Subclass, Against
        Defendants Clearview, Rocky Mountain, Ton-That, Schwartz and Mulcaire)

       122. Plaintiffs restate and reallege paragraphs 1 through 72 and 74 through 79 of this
First Amended Consolidated Class Action Complaint as though fully set forth herein.

ANSWER:        The Macy’s Entities restate and reincorporate by reference their answers to

paragraph 1 through 72 and 74 through 79 as if fully set forth herein.

        123. As alleged above, Defendants Clearview, Rocky Mountain, Ton-That, Schwartz
and Mulcaire violated BIPA because, while in possession of the biometric identifiers and biometric
information of Plaintiffs and members of the Illinois Subclass, they failed to protect from
disclosure those biometric identifiers and information: (a) using the reasonable standard of care
within Clearview’s and Rocky Mountain’s industry; and (b) in a manner that is the same as or
more protective than the manner in which Clearview and Rocky Mountain protect and protected
other confidential and sensitive information.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.


                                                38
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 39 of 52 PageID #:10771




        124. As alleged above, Defendant Clearview’s electronic systems have a history of data
breaches. Moreover, on information and belief, Defendant Rocky Mountain relied on Clearview’s
defective electronic systems for storage and protection of Rocky Mountain’s Biometric Database.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

      125. The BIPA violations of Defendants Clearview, Rocky Mountain Ton-That,
Schwartz and Mulcaire were intentional and reckless or, pleaded in the alternative, negligent.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

       126. As a direct and proximate result of the BIPA violations of Defendants Clearview,
Rocky Mountain, Ton-That, Schwartz and Mulcaire, Plaintiffs and members of the Illinois
Subclass have suffered and will continue to suffer injury.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

      127. Plaintiffs and Class Members seek as monetary relief the greater of $5,000 or actual
damages or, pleaded in the alternative, $1,000 or actual damages.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

         128. Unless and until enjoined and restrained by order of this Court, the wrongful
conduct of Defendants Clearview, Rocky Mountain, Ton-That, Schwartz and Mulcaire will
continue to cause great and irreparable injury to Plaintiffs and members of the Illinois Subclass in
that their biometric identifiers and information can be viewed and used by unauthorized persons.
Plaintiffs and members of the Illinois Subclass have no adequate remedy at law for their injuries
in that a judgment for monetary damages will not end the misuse of their biometric identifiers and
information.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

        129. Plaintiffs and members of the Illinois Subclass also seek punitive damages,
injunctive relief and the reasonable attorney’s fees, costs and expenses relating to this action.




                                                39
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 40 of 52 PageID #:10772




ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

                                      COUNT EIGHT
                                   UNJUST ENRICHMENT
    (By Plaintiffs, on Behalf of Themselves and Members of the Plaintiff Classes, Against
                    Defendants and Members of the Clearview Client Class)

       130. Plaintiffs restate and reallege paragraphs 1 through 72 of this First Amended
Consolidated Class Action Complaint as though fully set forth herein.

ANSWER:        The Macy’s Entities restate and reincorporate by reference their answers to

paragraphs 1 through 72 as if fully set forth herein.

        131. To the detriment of Plaintiffs and members of the Plaintiff Classes, Defendants and
members of the Clearview Client Class have been, and continue to be, unjustly enriched as a result
of their wrongful conduct, as alleged herein.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.

        132. Plaintiffs and members of the Plaintiff Classes conferred a benefit on Defendants
and members of the Clearview Client Class in that, without authorization and through inequitable
means, Defendants and members of the Clearview Client Class: (a) covertly scraped photographs
of Plaintiffs and members of the Plaintiff Classes from the internet; (b) collected, captured,
purchased, received through trade and otherwise obtained and used the Biometrics of Plaintiffs
and members of the Plaintiff Classes; (c) amassed a Biometric Database containing those
Biometrics; (d) distributed, redistributed and disseminated the Biometric Database; and/or (e) sold,
traded, leased and otherwise profited from the Biometric Database and Biometrics. Defendants
and members of the Clearview Client Class did not compensate Plaintiffs and members of the
Plaintiff Classes for the benefit received from the above-described conduct.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to


                                                 40
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 41 of 52 PageID #:10773




form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.

        133. Defendants and members of the Clearview Client Class appreciated, accepted and
retained the benefit bestowed upon them under inequitable and unjust circumstances arising from
their conduct toward Plaintiffs and members of the Plaintiff Classes, as alleged herein.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.

        134.   Plaintiffs and members of the Plaintiff Classes have no adequate remedy at law.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations contained

in this paragraph.

        135. Under the circumstances, it would be unjust and unfair for Defendants and members
of the Clearview Client Class to be permitted to retain any of the benefits obtained from Plaintiffs
and members of the Plaintiff Classes.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.

       136. Under the principles of equity and good conscience, Defendants and members of
the Clearview Client Class should not be permitted to retain the photographs, biometric identifiers
and information belonging to Plaintiffs and members of the Plaintiff Classes because Defendants
and members of the Clearview Client Class unlawfully obtained that information.




                                                41
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 42 of 52 PageID #:10774




ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.

        137. Defendants and members of the Clearview Client Class should be compelled to
disgorge into a common fund or constructive trust, for the benefit of Plaintiffs and members of the
Plaintiff Classes, proceeds that they unjustly received from the sale, lease, trade, distribution,
dissemination and use of the personal information of Plaintiffs and members of the Plaintiff
Classes.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.

                                       COUNT NINE
               DECLARATORY JUDGMENT ACT, 28 U.S.C. § 2201, et seq.
    (By Plaintiffs, on Behalf of Themselves and Members of the Plaintiff Classes, Against
                    Defendants and Members of the Clearview Client Class)

       138. Plaintiffs restate and reallege paragraphs 1 through 72 of this First Amended
Consolidated Class Action Complaint as though fully set forth herein.

ANSWER:        The Macy’s Entities restate and reincorporate by reference to their answers to

paragraphs 1 through 72 as if fully set forth herein.

        139. Under the Declaratory Judgment Act, 28 U.S.C. § 2201, et seq., this Court is
authorized to enter a judgment declaring the rights and legal relations of the parties and grant
further necessary relief. Further, the Court has broad authority to restrain acts, such as here, that
are tortious and that violate the terms of the statutes described in this Consolidated Class Action
Complaint.




                                                 42
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 43 of 52 PageID #:10775




ANSWER:        The allegations contained in this paragraph are legal conclusions to which no

answer is required. To the extent an answer is required, the Macy’s Entities deny the allegations

contained in this paragraph.

        140. An actual controversy has arisen in the wake of the unlawful collection, obtainment,
purchase, trade, disclosure, dissemination, sale and/or misuse by Defendants and members of the
Clearview Client Class of the photographs and Biometrics of Plaintiffs and members of the
Plaintiff Classes without their consent, as alleged herein, in violation of the common law and
statutory duties of Defendants and Members of the Clearview Client Class.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than Macy’s and therefore deny them.

        141. Plaintiffs and members of the Plaintiff Classes continue to suffer injury and
damages, as described herein, as Defendants and members of the Clearview Client Class continue
to collect, obtain, purchase, trade, disclose, sell and/or misuse the photographs and Biometrics of
Plaintiffs and members of the Plaintiff Classes.

ANSWER:        The Macy’s Entities deny the allegations asserted against them in this paragraph.

The Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations asserted in this paragraph against any Defendant other than the Macy’s Entities and

therefore deny them.

        142. Pursuant to its authority under the Declaratory Judgment Act, this Court should
enter a judgment declaring, among other things, the following:

               a.      Defendants and members of the Clearview Client Class continue to owe a
                       legal duty to not collect, obtain, purchase, trade, disclose, sell or otherwise
                       misuse the photographs and Biometrics of Plaintiffs and members of the
                       Plaintiff Classes under, inter alia, the statutory provisions described in this
                       Consolidated Class Action Complaint and the common law;

               b.      Defendants and members of the Clearview Client Class continue to breach
                       their legal duties to Plaintiffs and members of the Classes by continuing to
                       collect, obtain, purchase, trade, disclose, sell and otherwise misuse the

                                                 43
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 44 of 52 PageID #:10776




                       photographs and Biometrics of Plaintiffs and members of the Plaintiff
                       Classes; and

               c.      The ongoing breaches by Defendants and members of the Clearview Client
                       Class of their legal duties continue to cause harm to Plaintiffs and members
                       of the Plaintiff Classes.

ANSWER:        The Macy’s Entities deny the allegations asserted against them in this paragraph

and subparagraphs. The Macy’s Entities lack knowledge or information sufficient to form a belief

as to the truth of the allegations asserted in this paragraph against any Defendant other than the

Macy’s Entities and therefore deny them.

        143. The Court should also issue corresponding injunctive relief, including, but not
limited to: (a) enjoining Defendants and members of the Clearview Client Class from engaging in
the unlawful conduct alleged in this claim; (b) requiring Defendants and members of the Clearview
Client Class to delete all photographs and Biometrics of Plaintiffs and members of the Plaintiff
Classes; and (c) cease further collection of photographs and Biometrics of Plaintiffs or members
of the Plaintiff Classes or engaging in any activities that would result in the purchase, obtainment,
disclosure, trade, sale or misuse of the photographs and Biometrics of Plaintiffs and members of
the Plaintiff Classes. If an injunction is not issued, Plaintiffs and members of the Plaintiff Classes
will suffer irreparable injury and lack an adequate legal remedy in the event the statutory or
common law does not prohibit, among other things, the collection, purchase, obtainment, trade,
disclosure, sale and misuse of the photographs and Biometrics of Plaintiffs and members of the
Plaintiff Classes. Illinois in particular specifically constrains the collection, purchase, obtainment,
trade, disclosure and sale of Biometrics and recognizes a person’s right to maintain such personal
information as private. In light of the pervasive flaunting of such rights by Defendants and
members of the Clearview Client Class, including the continued collection, purchase, obtainment,
trade, disclosure, sale and/or misuse of the photographs and Biometrics of Plaintiffs and members
of the Plaintiff Classes, the risk of continued violations of Illinois law and the common law is real,
immediate and substantial. Plaintiffs and members of the Plaintiff Classes do not have an adequate
remedy at law because many of the resulting injuries are reoccurring and Plaintiffs and members
of the Plaintiff Classes will be forced to bring multiple lawsuits to rectify the same conduct.

ANSWER:        The Macy’s Entities deny the allegations asserted against them in this paragraph.

The Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations asserted in this paragraph against any Defendant other than the Macy’s Entities and

therefore deny them.

        144. The hardship to Plaintiffs and members of the Plaintiff Classes if an injunction is
not issued exceeds the hardship to Defendants and members of the Clearview Client Class if an
injunction is issued. On the other hand, the cost to Defendants and members of the Clearview

                                                  44
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 45 of 52 PageID #:10777




Client Class of complying with an injunction by adhering to the requirements of Illinois law and
the common law by ceasing to engage in the misconduct alleged herein is relatively minimal, and
Defendants and members of the Clearview Client Class have a pre-existing legal obligation to
avoid invading the privacy rights of consumers.

ANSWER:            The Macy’s Entities deny the allegations asserted against them in this paragraph.

The Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations asserted in this paragraph against any Defendant other than the Macy’s Entities and

therefore deny them.

        145. Issuance of the requested injunction will serve the public interest by preventing
ongoing collection, purchase, obtainment, trade, disclosure, sale and misuse of the photographs
and Biometrics of Plaintiffs and members of the Plaintiff Classes without consent, thus eliminating
the injuries that would result to Plaintiffs and members of the Plaintiff Classes, and the hundreds
of millions of Americans who upload photographs to social media sites.

ANSWER:            The Macy’s Entities deny the allegations contained in this paragraph.

                              AMENDED AFFIRMATIVE DEFENSES

        The Macy’s Entities deny the claims asserted by Plaintiffs. Notwithstanding, the Macy’s

Entities assert the following defenses without assuming any burdens of production or proof that,

pursuant to law, belong to Plaintiffs. The Macy’s Entities reserve the right to amend their answer

and to assert any additional defenses as may become available or apparent during the course of

this litigation.

                                  FIRST AFFIRMATIVE DEFENSE
                                       (ACTS OF OTHERS)

        1.         Plaintiffs’ claims and the claims of the putative plaintiff class are barred, in whole

or in part, because all or part of the damages alleged, if any, were caused by the acts or omissions

of persons or entities other than the Macy’s Entities for whose conduct the Macy’s Entities are not

legally responsible.

        2.         In contracting to provide services to the Macy’s Entities, Defendant Clearview

represented and warranted that:

                                                    45
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 46 of 52 PageID #:10778




             a. It shall not include any biometric data results of Illinois residents;

             b. It shall perform all services in a timely and professional manner;

             c. It shall not infringe or violate the rights of others;

             d. The acts and omissions of Defendant Clearview would not be construed as

                 imposing liability upon the Macy’s Entities;

             e. Defendant Clearview shall obtain all licenses and other governmental

                 authorizations and approvals required for the performance of its obligations under

                 the parties’ agreement;

             f. Defendant Clearview shall perform its obligations under the parties’ agreement in

                 accordance with all applicable laws and regulations;

             g. Defendant Clearview would take every step necessary to ensure that its product and

                 services are used correctly and lawfully;

             h. Defendant Clearview would use and handle any personal information provided to

                 it by the Macy’s Entities for purposes of performing services under the agreement

                 in compliance with all applicable laws, including all laws governing the privacy,

                 confidentiality and security of personal information;

             i. Defendant Clearview shall notify the Macy’s Entities of any actual or suspected

                 security breach, hacking, unauthorized disclosure, access to, acquisition of or other

                 loss or use of personal information relating to Defendant Clearview’s performance

                 of services under the parties’ agreement; and




                                                   46
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 47 of 52 PageID #:10779




             j. Defendant Clearview shall implement and maintain a written information security

                program and perform other commercially reasonable security measures to

                safeguard personal information and other data it receives in connection with

                performing the services under the parties’ agreement and in compliance with

                applicable privacy laws.

                           SECOND AFFIRMATIVE DEFENSE
                        (GOVERNMENT CONTRACT EXCEPTION)

        3.      Plaintiffs’ and the putative plaintiff class members’ BIPA claims are barred, in

whole or in part, because BIPA includes an exemption for “a contractor, subcontractor, or agent

of a State agency or local unit of government when working for that State agency or local unit of

government.” 740 ILCS 14/25.

        4.      On the occasion that the Macy’s Entities availed themselves of Defendant

Clearview’s services, it did so while engaged by law enforcement for a state agency or local unit

of government to assist in the investigation of burglaries, acts of retail theft and other criminal

activity.

                              THIRD AFFIRMATIVE DEFENSE
                               (PHOTOGRAPH EXEMPTION)

        5.      Plaintiffs’ and the putative plaintiff class members’ BIPA claims are barred, in

whole or in part, because BIPA expressly excludes from the definition of biometric identifiers both

photographs and information derived from photographs. 740 ILCS 14/10.

        6.      The sole conduct attributable to the Macy’s Entities involve submitting a

photograph to Defendant Clearview pursuant to the parties’ agreement.




                                                47
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 48 of 52 PageID #:10780




                              FOURTH AFFIRMATIVE DEFENSE
                                (INAPPLICABILITY OF BIPA)

       7.        Plaintiffs’ claims and the claims of the putative plaintiff class are barred, in whole

or in part, because while providing services to the Macy’s Entities, Defendant Clearview did not

include any biometric data results of Illinois residents.

                                FIFTH AFFIRMATIVE DEFENSE
                                 (STATUTE OF LIMITATIONS)

          8.     Plaintiffs’ claims and the claims of the putative plaintiff class are barred, in whole

or in part, by the applicable statute of limitations, as follows:

                Claim                   Statute of Limitations                  Authority
     Section 15 (b) of BIPA                     5 years               Tims v. Black Horse Carriers,
                                                                      Inc., 2021 IL App (1st)
                                                                      200563 ¶ 33 (Sept. 17, 2021).


          9.     The Macy’s Entities ceased using Defendant Clearview’s services in or before

March 2020.

          10.    The acts or omissions giving rise to the claims of Plaintiffs and the putative class

arose prior to the applicable statute of limitations.

          11.    As a result, Plaintiffs’ and the putative plaintiff class members’ claims are barred

  to the extent the claims were raised outside of the statute of limitations to assert such claims.

                    SIXTH AFFIRMATIVE DEFENSE
 (ACUIESCENSE, ASSUMPTION OF RISK, CONSENT, ESTOPPEL, RATIFICATION
                           AND WAIVER)

          12.    Plaintiffs’ claims and the claims of the putative plaintiff class are barred, in whole

or in part, by the doctrines of acquiescence, assumption of risk, consent, estoppel, ratification and

waiver.




                                                  48
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 49 of 52 PageID #:10781




        13.    In providing the services to the Macy’s Entities, Defendant Clearview did not use

any non-open source information, defined as scraping public-facing websites for images or

copying, collecting, storing or otherwise using said images in violation of a website or entity’s

terms and conditions for use of such images and any information contained therein.

        14.    By posting images of themselves or others on public-facing website, Plaintiffs and

the putative class members consented to, ratified and acquiesced in the use of such images and any

information contained therein in accordance with the terms and conditions of the website to which

such images were posted.

        15.    Further, by undertaking such actions, Plaintiffs and the putative class members

assumed the risk that such images would be available for use by third-parties like Defendant

Clearview.

        16.    Likewise, by posting images on public-facing websites, Plaintiffs and the putative

class members had no expectation of privacy in such images or any information contained therein.

Plaintiffs and the putative class members therefore waived and should be estopped from

complaining of claims based on such conduct.

                           SEVENTH AFFIRMATIVE DEFENSE
                                    (STANDING)

        17.    Plaintiffs’ claims and the claims of the putative plaintiff class are barred, in whole

or in part, because they have not suffered a concrete and particularized injury as a result of the

Macy’s Entities’ actions and any purported injury is not fairly traceable to the alleged conduct of

the Macy’s Entities, so any relief sought would not redress any such injury.

        18.    Further, they are barred by the doctrine of standing as Plaintiffs and the putative

class members have not been aggrieved by any BIPA violation committed by the Macy’s Entities.




                                                49
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 50 of 52 PageID #:10782




                        EIGHTH AFFIRMATIVE DEFENSE
              (NO NEGLIGENT, INTENTIONAL OR RECKLESS CONDUCT)

        19.    Plaintiffs’ claims and the claims of the putative plaintiff class are barred, in whole

or in part, by the Macy’s Entities’ good faith, and the absence of negligent, intentional, or reckless

conduct.

        20.    To the extent that Plaintiffs’ and the putative plaintiff class members’ BIPA and

other state law claims apply to the Macy’s Entities’ conduct, the Macy’s Entities are not liable

because it relied in good faith upon the representation and warranties Defendant Clearview made

in the parties’ agreement and the Macy’s Entities reasonable interpretation of BIPA’s statutory

language.

        21.    As a result, any alleged violation was not negligent, intentional, or reckless.

        22.    Further, the Macy’s Entities acted at all times in good faith and without malice,

willfulness, or reckless indifference, barring any recovery of punitive or exemplary damages by

Plaintiffs and the putative class members.

                              NINTH AFFIRMATIVE DEFENSE
                            (FAILURE TO MITIGATE DAMAGES)

        23.    Plaintiffs’ claims and the claims of the putative plaintiff class are barred, in whole

or in part, by their failure to mitigate their damages, if any, and any recovery should therefore be

reduced or denied accordingly.

                              TENTH AFFIRMATIVE DEFENSE
                                 (CLASS ALLEGATIONS)

        24.    Plaintiffs’ claims and the claims of the putative plaintiff class are barred, in whole

or in part, because the requirements for the certification of a plaintiff, defendant or issue class are

not met.



                                                  50
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 51 of 52 PageID #:10783




                           ELEVENTH AFFIRMATIVE DEFENSE
                            (UNCONSTITUTIONAL DAMAGES)

        25.    Plaintiffs’ claims and the claims of the putative plaintiff class are barred, in whole

or in part, as they seek unconstitutional damages under BIPA, a statute that violates the United

States and Illinois Constitutions both facially and as applied to this case. The statutory damages

Plaintiffs seek under BIPA constitute an unconstitutional penalty in violation of the due process

and equal protection guarantees, and other substantive and procedural safeguards afforded by the

First, Fifth, Sixth, and Fourteenth Amendments to the United States Constitution. Furthermore,

BIPA is unconstitutionally vague, as it on the one hand imposes grossly excessive damages wholly

unrelated to any actual harm, while at the same time making damages discretionary without any

basis for how courts and juries should weigh this discretion. This leads to an arbitrary assessment

of damages as it lacks any standards or factors to which parties, judges and juries can assess a

damages award that comports with the due process and equal protection guaranties of the United

States Constitution.

        WHEREFORE, Macy’s, Inc., Macy’s Retail Holdings, Inc., now known as Macys Retail

Holdings, LLC, and Macy’s Corporate Services, Inc., now known as Macy’s Corporate Services,

LLC, respectfully requests that the Court dismiss the First Amended Class Action Complaint with

prejudice, enter judgment in their favor, and grant such other and further relief as it deems just.




                                                 51
74983756v2
 Case: 1:21-cv-00135 Document #: 535 Filed: 04/11/23 Page 52 of 52 PageID #:10784




Dated: April 11, 2023                Respectfully Submitted,

                                     /s/ Daniel R. Saeedi
                                     Daniel R. Saeedi (ARDC #6296493)
                                     dsaeedi@taftlaw.com
                                     Rachel Schaller (ARDC #6306921)
                                     rschaller@taftlaw.com
                                     TAFT STETTINIUS & HOLLISTER LLP
                                     111 E. Wacker Drive, 26th Floor
                                     Chicago, Illinois 60601
                                     Telephone: (312) 527-4000
                                     Fax: (312) 754-2373

                                     Attorneys for Defendant Macy’s, Inc., Macy’s Retail
                                     Holdings, Inc., now known as Macy’s Retail
                                     Holdings, LLC, and Macy’s Corporate Services,
                                     Inc., now known as Macy’s Corporate Services, LLC




                                       52
74983756v2
